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                                  IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF OREGON
                                           PORTLAND DIVISION

             KELLY CAHILL, et al.,                           Case No. 3:18-cv-01477-JR
                                               Plaintiffs,
                                                             PLAINTIFFS’ OPPOSITION TO
             vs.                                             DEFENDANT NIKE, INC.’S MOTION
                                                             TO REDACT A THIRD-PARTY NAME
             NIKE, INC., an Oregon Corporation,              FROM TRANSCRIPT OF DECEMBER
                                           Defendant.        13, 2024, HEARING




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           OPP’N TO DEF.’S MOT. TO REDACT A 3RD-PARTY NAME FROM TR. OF DEC. 13, 2024 HEARING
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                   Nike moved the Court for an “order redacting a certain third-party employee name

           included in the Court’s December 13, 2024, hearing transcript.” ECF No. 581 at p. 1. This

           individual’s name is contained on pages 28, 31 and in the Index to the transcript. Id. at 2.

                   In support of its motion, Nike relies upon the documents that were filed in support of

           NIKE’S Motion to Redact Third-Party Employee Names from the Transcript of October 9, 2024

           Discovery Hearing. ECF No. 581 at 1, citing to ECF Nos. 548, 549 and 570. Nike refers to the

           arguments that it advanced with respect to its motion to redact the transcript of the October 9

           hearing in support of its motion to redact the transcripts of the December 13 hearing because the

           same arguments apply to both motions.

                   Similarly, in this Opposition to Nike’s Motion, Plaintiffs refer the Court to their filings in

           support of Plaintiffs’ Opposition To Defendant Nike, Inc.’s Motion To Redact Third-Party

           Names from Transcript of October 9, 2024 Discovery Hearing, ECF Nos. 562 and 563 (“October

           9 Opposition”).

                   In their October 9 Opposition, Plaintiffs argue that Nike’s attempt to redact the transcript

           of a public hearing is contrary to applicable law and the strong presumption that Court records,

           such as the transcript of an open hearing, are available to the public. Specifically with respect to

           the individual whose name Nike seeks to redact in the transcript to the December 13 hearing

           Plaintiffs describe that it was particularly inappropriate to redact the name because, among other

           reasons, her actions indicate that she had provided documents to Plaintiffs’ counsel with the

           knowledge that her name would be publicly disclosed in this civil action. ECF No. 562 at pp. 2,

           9-11.
                                                 I.      CONCLUSION

                   For the reasons set forth above, Plaintiffs respectfully request the Court to deny Nike’s

           Motion to redact portions of the Transcript of publicly held hearing on December 13, 2024 and

           to permit the filing of an unsealed transcript.




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           OPP’N TO DEF.’S MOT. TO REDACT A 3RD-PARTY NAME FROM TR. OF DEC. 13, 2024 HEARING
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           Dated: January 7, 2025                Respectfully submitted,

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